              Case 18-80589                 Doc      Filed 04/28/21         Entered 04/28/21 11:40:48                          Desc Main
 Fill in this information to identify the case:          Document           Page 1 of 7

 Debtor 1              Mario B Gutierrez
                       __________________________________________________________________

 Debtor 2                 Talia M Gutierrez
                        ________________________________________________________________
 (Spouse, if filing)

                                         Northern
 United States Bankruptcy Court for the: ______________________              IL
                                                                District of __________
                                                                             (State)
 Case number            18-80589
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               U.S. Bank Trust National Association as
                   Trustee of the Lodge Series IV Trust
 Name of creditor: _______________________________________                                                           3
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          8559____ ____ ____
                                                         ____                            Must be at least 21 days after date       06        2021
                                                                                                                                   ____/____/_____
                                                                                                                                        15
                                                                                         of this notice


                                                                                         New total payment:                          1,210.12
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             470.06
                   Current escrow payment: $ _______________                           New escrow payment:           479.65
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q    No
      q    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1
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Debtor 1         Mario B Gutierrez
                 _______________________________________________________                                               18-80589
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.
    Xq I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û_____________________________________________________________
  /s/ Michelle Ghidotti
     Signature
                                                                                                Date    04/28/2021
                                                                                                        ____/_____/________




 Print:             Michelle Ghidotti
                    _________________________________________________________                   Title   AUTHORIZED AGENT
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti/Berger LLP.
                    _________________________________________________________



 Address            1920 Old Tustin Ave.
                    _________________________________________________________
                    Number                 Street

                    Santa Ana, CA 92705
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone       949
                    (______) _____– 2010
                             427 _________                                                            bknotifications@ghidottiberger.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
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                                    CERTIFICATE OF SERVICE
       On April 28, 2021, I served the foregoing documents described as notice of mortgage payment
change on the following individuals by electronic means through the Court’s ECF program:

COUNSEL FOR DEBTOR
David H Carter
kkcarter6142@yahoo.com

Trustee
Lydia Meyer
ecf@lsm13trustee.com

Fiona M. Whelan
ch13@lsm13trustee.com

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
                                                          /s/ Maben May
                                                          Maben May

       On April 28, 2021, I served the foregoing documents described as notice of mortgage payment
change on the following individuals by depositing true copies thereof in the United States mail at Santa
Ana, California enclosed in a sealed envelope, with postage paid, addressed as follows:
Debtor
Mario B Gutierrez
902 Queen Anne Street
Woodstock, IL 60098

Talia M Gutierrez
902 Queen Anne Street
Woodstock, IL 60098

U.S. Trustee
Patrick S Layng
Office of the U.S. Trustee, Region 11
780 Regent St.
Suite 304
Madison, WI 53715

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
                                                         /s/ Maben May
                                                         Maben May
